Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 1 of 33 PageID #: 27594



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION


 INNOVATION SCIENCES, LLC,
                                              Civil Action No. 4:18-cv-00474-ALM
                   Plaintiff,
                                               (LEAD CONSOLIDATED CASE)
       v.
                                                  JURY TRIAL DEMANDED
 AMAZON.COM, INC., et al.,

                   Defendants.

 INNOVATION SCIENCES, LLC,

                   Plaintiff,
       v.
                                              Civil Action No. 4:18-cv-00475-ALM
 RESIDEO TECHNOLOGIES, INC.,

                   Defendant.

 INNOVATION SCIENCES, LLC,

                   Plaintiff,
       v.
                                              Civil Action No. 4:18-cv-00476-ALM
 HTC CORPORATION,

                   Defendant.

 INNOVATION SCIENCES, LLC,

                   Plaintiff,
       v.
                                              Civil Action No. 4:18-cv-00477-ALM
 VECTOR SECURITY, INC.,

                   Defendant.


               AMAZON’S MOTION FOR SUMMARY JUDGMENT
       OF NO DIRECT INFRINGEMENT OF THE ’983, ’798, AND ’918 PATENTS
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 2 of 33 PageID #: 27595



                                                 TABLE OF CONTENTS

                                                                                                                                 Page

 I.       INTRODUCTION ...............................................................................................................1

 II.      STATEMENT OF THE ISSUES.........................................................................................2

 III.     STATEMENT OF UNDISPUTED MATERIAL FACTS ..................................................2

 IV.      OVERVIEW OF THE ’983 PATENT FAMILY ................................................................7

 V.       OVERVIEW OF THE ACCUSED SYSTEMS...................................................................8

 VI.      AMAZON DOES NOT AND CANNOT DIRECTLY INFRINGE ANY CLAIM
          OF THE ’983 PATENT FAMILY AS A MATTER OF LAW. ........................................13

          A.        Amazon cannot directly infringe as a matter of law under the Federal
                    Circuit’s opinion in Centillion. ..............................................................................14

                    1.         Amazon does not “make” the claimed systems. ........................................15

                    2.         Amazon does not “use” the claimed systems. ...........................................17

                               a)        Amazon does not control the claimed systems. .............................18

                               b)        Amazon does not benefit from the accused systems. ....................21

          B.        Amazon cannot directly infringe as a matter of law under the Federal
                    Circuit’s opinions in Typhoon Touch and Nazomi. ................................................22

 VII.     CONCLUSION ..................................................................................................................27

 CERTIFICATE OF SERVICE ......................................................................................................30




                                                                   i
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 3 of 33 PageID #: 27596



                                                TABLE OF AUTHORITIES

                                                                                                                                Page(s)

 CASES

 Acceleration Bay LLC v. Activision Blizzard, Inc.,
    324 F. Supp. 3d 470 (D. Del. 2018) .........................................................................................22

 Akamai Techs., Inc. v. Limelight Networks, Inc.,
    797 F.3d 1020 (Fed. Cir. 2015) (en banc) (per curiam)...........................................................15

 Centillion Data Sys., LLC v. Qwest Commc'ns Int’l, Inc.,
    631 F.3d 1279 (Fed. Cir. 2011)........................................................................................ passim

 Flexuspine, Inc. v. Globus Med., Inc.,
    No. 6:15-CV-201-JRG-KNM, 2016 WL 4161887 (E.D. Tex. Aug. 5, 2016) .........................25

 Grecia v. McDonald’s Corp.,
    724 F. App’x 942 (Fed. Cir. 2018) ....................................................................................14, 22

 Intellectual Ventures I LLC v. Motorola Mobility LLC,
     870 F.3d 1320 (Fed. Cir. 2017).......................................................................................... 20-22

 Nazomi Commc’ns, Inc. v. Nokia Corp.,
    739 F.3d 1339 (Fed. Cir. 2014).............................................................................. 13, 22, 24-26

 Rotec Indus., Inc. v. Mitsubishi Corp.,
    215 F.3d 1246 (Fed. Cir. 2000)................................................................................................18

 Sipco, LLC v. Abb, Inc.,
     No. 6:11-CV-0048 LED-JDL, 2012 WL 31122302 (E.D. Tex. July 30, 2012) ................ 25-26

 Typhoon Touch Techs., Inc. v. Dell, Inc.,
    659 F.3d 1376 (Fed. Cir. 2011)..............................................................................13, 22, 24, 26

 STATUTES

 35 U.S.C. § 271(a) ................................................................................................................. passim




                                                                     ii
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 4 of 33 PageID #: 27597




 I.       INTRODUCTION

          IS cannot show that Amazon 1 directly infringes the asserted claims of U.S. Patent Nos.

 9,912,983, 9,729,918, and 9,942,798 (the “’983 patent family”) as a matter of law. IS asserts only

 system claims from these patents. It maps critical elements of those claims to third-party devices

 that end-users combine with the accused Amazon products. In such situations, under well-estab-

 lished Federal Circuit law, Amazon can directly infringe the asserted claims only if it “makes” or

 “uses” the claimed systems. Centillion Data Sys., LLC v. Qwest Commc’ns Int’l, Inc., 631 F.3d

 1279, 1284, 1288 (Fed. Cir. 2011). To “make” the claimed systems, Amazon must “combine all

 of the claim elements.” Id. at 1288. To “use” the claimed systems, Amazon must “put the inven-

 tion into service, i.e., control the system as a whole and obtain benefit from it.” Id. at 1284. IS

 has no evidence that Amazon combines the identified third-party devices with the accused Amazon

 products. Nor does it have any evidence that Amazon controls the end-users’ systems with those

 third-party devices or obtains any benefit from them. Indeed, the accused devices as sold by Am-

 azon cannot even perform the functions required by the asserted claims unless the end-users, in

 their sole discretion, combine the accused Amazon products with the devices of others. And IS

 does not even allege that Amazon sells any system that includes all elements of the asserted claims.

 Because IS has adduced no evidence sufficient to raise a genuine dispute of material fact regarding

 its direct infringement claims, Amazon is entitled to summary judgment of no direct infringement

 of the ’983 patent family.




      1
      This motion is brought on behalf of all Amazon defendants. However, Amazon Digital
 Services, Inc., Amazon Digital Services, LLC, Amazon Web Services LLC, and Amazon Fulfill-
 ment Services, Inc., who have been named as defendants in this case, do not exist, are not proper
 defendants, and should be dismissed.


                                                  1
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 5 of 33 PageID #: 27598



 II.     STATEMENT OF THE ISSUES

         Whether IS has any evidence sufficient to raise a genuine dispute of material fact that Am-

 azon directly infringes the asserted claims of the ’983, ’798, and ’918 patents, given that IS asserts

 only system claims and maps elements of those claims to third-party devices and functionality that

 Amazon neither puts into service nor combines with its own devices.

 III.    STATEMENT OF UNDISPUTED MATERIAL FACTS

         1.      IS asserts four patents: U.S. Patent Nos. 9,912,983 (the “’983 patent”) (Dkt. 79-1),

 9,942,798 (the “’798 patent”) (Dkt. 79-3), 9,729,918 (the “’918 patent”) (Dkt. 79-2), 9,723,443

 (the “’443 patent”) (Dkt. 79-4). (Dkt. 79 at ¶¶ 18, 95, 122, 147.)

         2.      The ’983 patent is a continuation of the ’918 patent, which is a continuation of the

 ’798 patent, and the three patents share a common specification. (Declaration of Saina S. Shamilov

 (“Shamilov Decl.”) Ex. 1 (Dr. David Johnson Opening Report) at ¶ 66; ’983 patent; ’918 patent,

 ’798 patent.)

         3.      IS asserts only system claims from the ’983 patent family patents. (Shamilov Decl.

 Ex. 2 (Joseph McAlexander Opening Report (“McAlexander Op. R.”)) at ¶ 37 (“It is my under-

 standing that none of the claims asserted in this case are method claims.”); id. Ex. 3 (Transcript of

 Joseph McAlexander Deposition (“McAlexander Depo.”)) at 8:16-22; McAlexander Op. R., Att.

 A at ¶ 1, Att. B at ¶ 1, Att. C at ¶ 1, Att. D at ¶ 1.)

         4.      IS accuses versions of Amazon’s Echo, Fire TV, Fire Tablet, and the Alexa Voice

 Service of infringing these system claims. (McAlexander Op. R. at ¶ 73.)

         5.      IS accuses these products because they all provide access to Amazon’s Alexa,

 which end users may use to control “smart home” devices like the Philips Hue Lightbulb. (McAl-

 exander Op. R. at ¶ 79 (“Specifically, Amazon’s Echo products, Fire TV products and Fire Tablet

 products all incorporate what is known as the Alexa voice technology and the ability to manage



                                                      2
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 6 of 33 PageID #: 27599




 smart home devices, supporting the operation of those devices through the Amazon cloud.”); id.,

 Att. A-a10 (“You Can Now Voice Control Philips Hue Devices with the Alexa Voice Service.”)

 (citing Amazon document).)

        6.      Amazon’s Alexa is a virtual intelligent assistant. (Shamilov Decl. Ex. 4 (Non-In-

 fringement Expert Report of Dr. David Johnson (“Johnson Reb. R.”)) at ¶¶ 29–43.) It is a cloud-

 based voice service that allows end users to access a vast array of functionalities, including playing

 music, receiving answers to questions, making to-do lists, setting timers, streaming podcasts, play-

 ing audiobooks, and retrieving real-time information such as current weather, news, traffic, and

 sport scores. (Id.) End users interact with Alexa by speaking to it.

        7.      IS asserts claims 28, 112, and 113 of the ’918 patent. (McAlexander Op. R. at ¶ 1.)

        8.      IS alleges that Fire TV products and Fire Tablet products infringe claim 28 of the

 ’918 patent. (McAlexander Op. R., Att. A at ¶¶ 2–3.)

        9.      Claim 28 of the ’918 patent requires the “wireless signal conversion apparatus is

 configured to: communicate, through the wireless communication network, information about an

 updated status of a household item in conjunction with a short range wireless communication re-

 garding the updated status.” (’918 patent.)

        10.     The Court construed the claim term “a short range wireless communication” (across

 all asserted patents) as “communication using Zigbee, Bluetooth, UWB, or other similarly-ranged

 communication protocols.” (Dkt. No. 229 at 75.)

        11.     The Court construed the terms “updated item status” (across all asserted patents)

 and “updated [status of . . . item]” as “a change in [item] status.” (Dkt. No. 229 at 63.)

        12.     IS’s expert, Mr. McAlexander, maps the “short range wireless communication re-

 garding the updated status” of claim 28 of the ’918 patent to a communication between a Philips




                                                   3
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 7 of 33 PageID #: 27600




 Hue Lightbulb and Philips Hue Bridge. (McAlexander Op. R., Att. A-a10 (Amazon Fire TV Prod-

 ucts), Att. A-b6 (Amazon Fire Tablet Products).)

        13.     IS alleges that Fire TV products and Fire Tablet products infringe claims 112 and

 113 of the ’918 patent. (McAlexander Op. R., Att. A at ¶¶ 2–3.)

        14.     Claims 112 and 113 of the ’918 patent require the “wireless signal conversion ap-

 paratus . . . wherein the operations further comprises: communicating information about an up-

 dated status of a household item in conjunction with a short range wireless communication regard-

 ing the updated status.” (’918 patent.)

        15.     Mr. McAlexander maps the “short range wireless communication regarding the up-

 dated status” of claims 112 and 113 of the ’918 patent to a communication between a Philips Hue

 Lightbulb and Philips Hue Bridge. (McAlexander Op. R., Att. A-a25 (Amazon Fire TV Products),

 Att. A-b15 (Amazon Fire Tablet Products).)

        16.     IS asserts claims 5, 6, and 52 of the ’798 patent. (McAlexander Op. R. at ¶ 1.)

        17.     For the ’798 patent, IS alleges that Fire TV products and Amazon Alexa Voice

 Service infringe claim 5; Fire TV products and Fire Tablet products infringe claim 6; and Fire

 Tablet products and Alexa Voice Service infringe claim 52. (McAlexander Op. R., Att. C at ¶¶ 2–

 4.)

        18.     Claims 5, 6, and 52 of the ’798 patent require “the centralized hub system config-

 ured to . . . communicate information for managing a household item status of a household item in

 conjunction with a short range wireless communication regarding an updated status of the house-

 hold item.” (’798 patent.)

        19.     Mr. McAlexander maps the “short range wireless communication regarding an up-

 dated status of the household item” of claims 5, 6, and 52 of the ’798 patent to a communication




                                                 4
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 8 of 33 PageID #: 27601




 between a Philips Hue Lightbulb and Philips Hue Bridge. (McAlexander Op. R., Att. C-a9 (Am-

 azon Fire TV Products), Att. C-b6 (Amazon Fire Tablet Products), Att. C-c7 (Amazon Alexa

 Voice Service).)

        20.       IS asserts claims 22, 24, 39, 62, 64, 67, 80, 105, and 108 of the ’983 patent. (McAl-

 exander Op. R. at ¶ 1.)

        21.       IS alleges that Fire TV products, Fire Tablet products, and Echo products infringe

 claims 22, 24 and 39 of the ’983 patent. (McAlexander Op. R., Att. B at ¶¶ 2–4.)

        22.       Claims 22, 24, and 39 of the ’983 patent require “the wireless HUB system is further

 configured to communicate, through the network communication channel, information for man-

 aging an item status of an item in connection with a short range wireless communication regarding

 an updated status of the item.” (’983 patent.)

        23.       Mr. McAlexander maps the “short range wireless communication regarding an up-

 dated status of the item” of claims 22, 24, and 39 of the ’983 patent to a communication between

 a Philips Hue Lightbulb and Philips Hue Bridge. (McAlexander Op. R., Att. B-a12–13 (Amazon

 Fire TV Products), Att. B-b5 (Amazon Fire Tablet Products), Att. B-c6 (Amazon Echo Products).)

        24.       For the ’983 patent, IS alleges that Fire TV products, Fire Tablet products, and Echo

 products infringe claim 62; Echo products infringe claim 64; Fire TV products and Fire Tablet

 products infringe claim 67; and Echo products infringe claim 80. (McAlexander Op. R., Att. B at

 ¶¶ 2–4.)

        25.       Asserted claims 62, 64, 67, and 80 of the ’983 patent require “the wireless HUB is

 further configured to communicate, through the network communication channel, information for

 managing an item status of an item based on a signal regarding an updated status of the item.”

 (’983 patent.)

        26.       For the accused Fire TV products and Fire Tablet products, Mr. McAlexander maps


                                                    5
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 9 of 33 PageID #: 27602




 the “signal regarding an updated status of the item” of claims 62, 64, 67, and 80 of the ’983 patent

 to a communication sent or received by third-party “‘smart home’ (household items) devices,”

 such as “cameras, cooking appliances, entertainment devices, lights, locks, sensors, and thermo-

 stats.” (McAlexander Op. R., Att. B-a22 (Amazon Fire TV Products), Att. B-b12 (Amazon Fire

 Tablet Products).) Mr. McAlexander specifically lists “Philips Hue Devices” as an example of

 “smart home devices.” (McAlexander Op. R., Att. B-a23 (Amazon Fire TV Products), Att. B-b12

 (Amazon Fire Tablet Products).)

        27.     For the accused Echo products, Mr. McAlexander maps the “signal regarding an

 updated status of the item” of claims 62, 64, and 80 of the ’983 patent to a communication sent or

 received by third-party “’smart home’ devices.” (McAlexander Op. R., Att. B-c16–17 (Amazon

 Echo Products).) Again, Mr. McAlexander specifically uses Philips products as an example of

 smart home devices. (McAlexander Op. R., Att. B-c17 (Amazon Echo Products).)

        28.     IS alleges that the Alexa Voice Service infringes claim 105 of the ’983 patent.

 (McAlexander Op. R., Att. B at ¶ 5.)

        29.     Claim 105 of the ’983 patent requires “the management center system is configured

 to communicate information about the updated status with a centralized HUB system; wherein the

 centralized HUB system is configured to receive the wireless signal regarding the updated status

 through a short range wireless communication.” (’983 patent.)

        30.     Mr. McAlexander maps the “short range wireless communication . . . regarding the

 updated status” of claim 105 of the ’983 patent to a communication sent or received by third-party

 “smart home devices,” such as “cameras, locks, lights, and sensors.” (McAlexander Op. R., Att.

 B-d8 (Amazon Alexa Voice Service).) Mr. McAlexander specifically lists “Philips Hue Devices”

 as an example of smart home devices. (McAlexander Op. R., Att. B-d8–9 (Amazon Alexa Voice

 Service).)


                                                  6
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 10 of 33 PageID #: 27603




          31.    IS alleges that Amazon Alexa Voice Service infringes claim 108 of the ’983 patent.

 (McAlexander Op. R., Att. B at ¶ 5.)

          32.    Claim 108 of the ’983 patent requires “the management center system is configured

 to communicate information about an updated status of an item in association with a short range

 wireless communication regarding the updated status.” (’983 patent.)

          33.    Mr. McAlexander maps the “short range wireless communication regarding the up-

 dated status” from claim 108 of the ’983 patent to a communication sent or received by a third-

 party “smart device,” such as a “light bulb” or “camera.” (McAlexander Op. R., Att. B-d13 (Am-

 azon Alexa Voice Service).) Mr. McAlexander specifically lists Philips products as an example

 of a smart device (“An example of an item is a Philips Hue Lightbulb”) and cites “Philips Hue

 Devices” as an example of an “item.” (McAlexander Op. R., Att. B-d12–13 (Amazon Alexa Voice

 Service).)

          34.    Amazon does not make the Philips Hue Bridge or Philips Hue Lightbulb, or any

 other third-party smart home devices identified in Mr. McAlexander’s report. (Johnson Reb. R. at

 ¶ 98.)

 IV.      OVERVIEW OF THE ’983 PATENT FAMILY

          The ’983, ’918, and ’798 patents share a common specification. The specification de-

 scribes several distinct ideas, including the three described below, which are related to the subject

 matter of the asserted claims.

          The first idea is to transmit a secure payment using a short range wireless communication

 to something referred to as a local wireless HUB that in turn communicates with a remote server.

 (See ’443 patent at 2:52–3:4 (“Summary of the Invention”).) Once a user’s mobile device is au-

 thenticated by the wireless HUB using a short range near field identification tag, such as RFID or

 NFC, the wireless HUB sets up a higher bandwidth wireless connection with the mobile device to


                                                  7
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 11 of 33 PageID #: 27604




 receive the payment information from the user. (See id.) The wireless HUB can then forward the

 payment information to a remote merchant server to complete the purchase. (See id.; id. at Figures

 3 and 4.)

           The second idea is a system for sensing whether a diaper is wet or soiled, i.e. determining

 the diaper’s status, and sending a corresponding “diaper status update” to alert the appropriate

 caregiver. (Id. at 3:5–15; see generally id. at Figs. 5–7, 10:9–12:17.) When multiple diapers are

 being monitored, a unique identifier is associated with each diaper sensor and is included with

 each transmitted status update. (Id. at 3:16–21, 11:29–35.) The diaper management system may

 also order additional diapers using the first idea. (Id. at 12:18–24; see generally id. at 12:18–

 13:39.)

           The third idea is directed generally to video conversion. The specification describes re-

 ceiving a compressed multimedia signal at a device, decompressing the multimedia signal, and

 then encoding the decompressed signal for transmission and display at another device. (’918 pa-

 tent at 3:36–57.) The “mobile terminal signal conversion module” is the core of the system and

 processes video signals from a mobile device to display on a display monitor. (Id. at 16:63–67,

 17:11–12.)

 V.        OVERVIEW OF THE ACCUSED SYSTEMS

           IS accuses several Amazon product lines that “incorporate what is known as the Alexa

 voice technology and the ability to manage smart home devices.” (McAlexander Op. R. at ¶ 79.)

 IS contends that the Fire TVs and Fire Tablets infringe the asserted claims of the ’918, ’983, and

 ’798 patents, the Alexa Voice Service infringes the ’983 and ’798 patents, and the accused Echo

 devices infringe the ’983 patent. (McAlexander Op. R., Att. A at ¶¶ 1–3, Att. B at ¶¶ 1–4, Att. C

 at ¶¶ 1–4.)

           Fire TVs. Fire TVs are media streaming devices that allow Amazon end users to stream


                                                    8
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 12 of 33 PageID #: 27605




 movies, TV programs, and music on traditional TVs. (Id. at ¶ 56; see also, e.g., McAlexander

 Depo. at 28:3–9.) Fire TVs come in several form factors and connect to an end users’s traditional

 TV through HDMI and to the internet via the customer’s WiFi network. (Johnson Reb. R. at

 ¶¶ 61–62.) End users can control their Fire TVs with an Alexa Voice Remote or a remote control

 with traditional TV remote buttons, such as Power, Play/Pause, and Volume, as well as a Voice

 button. (Id.) An end user can push the Voice button and speak a command, such as “Alexa, turn

 up the volume” or “Alexa, tune to ESPN.” (Id. at ¶ 58.) The Voice Remote records the verbal

 command and sends the audio recording of the command to the Alexa Voice Service for speech

 recognition and formulation of a response. (Id. at ¶ 32.) Alexa, upon processing the command,

 directs the Fire TV to turn up the TV’s volume or to tune to ESPN.

        Fire Tablets. Fire Tablets are tablet computers with color touchscreens that range from 7

 inches to 10.1 inches in size. (Id. at ¶ 65.) Like Fire TVs, Fire Tablets allow end users to access

 millions of movies, TV episodes, games, apps, eBooks, and songs via the Amazon Appstore. (Id.

 at ¶ 66.) Users can also access Alexa by pressing and holding a Home button located at the bottom

 of the screen. Also like the Fire TVs, Fire Tablets record the end user’s verbal command and

 transmit the audio recording to Alexa, which processes the command (e.g., play video or music,

 open an app, check the weather) and generates a response (e.g., invoking the requested video or

 music, directing the requested app to open, speaking the requested weather information). (Id. at

 ¶¶ 30–32.)

        Echos. Echos are a line of speakers that provide end users with access to Amazon’s Alexa.

 While these devices come in various form factors, they all include a microphone and speaker to

 interact with Alexa. (Id. at ¶ 69.) One can think of these devices as voice recorders; they record

 users’ verbal commands and forward the audio recordings to Amazon’s cloud for processing. (Id.

 at ¶¶ 30–31.) Users can ask Alexa via an Echo to stream music, ask for information such as news,


                                                 9
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 13 of 33 PageID #: 27606




 sports scores, and weather, and much more. (Id. at ¶ 69.) For certain Echo models that include

 touchscreens, users may control the devices through the touchscreens as well as by speaking to

 Alexa. (Id.)

        Alexa Voice Service. Alexa is a voice-controlled virtual assistant that understands human

 speech and responds to human requests. (Id. at ¶ 29.) It resides in Amazon’s cloud and is primarily

 accessed by end users via Amazon’s Echos, which are dedicated speakers for accessing Alexa.

 (Id. at ¶ 30.) But it can also be accessed via an Alexa app that end users can install on their

 smartphones or tablets, as well as through various third-party devices. (Id. at ¶¶ 30–31.) Alexa is

 activated by an end user saying a wake-word, such as “Alexa.” (Id.) A human request that follows

 the wake-word is received by Alexa (from an end user device such as an Echo, a smartphone, a

 tablet) and processed by a sophisticated and complex multi-stage process that uses machine learn-

 ing and statistical models. (Id. at ¶¶ 31–43.) Alexa can respond to a variety of requests ranging

 from playing music, to requesting calendar schedules, to making a phone call, to checking sport

 scores or weather. (Id. at ¶ 29.) It can also help control smart home devices by interacting with

 third-party software and third-party cloud infrastructures, which is the crux of IS’s infringement

 allegations in this case. (Id. at ¶¶ 44–55.)

        Controlling smart home devices via Alexa. Smart home devices are internet-enabled de-

 vices such as lights, heaters, and door bells that can be controlled remotely. Smart home device

 manufacturers, like Philips, typically offer their customers a variety of ways to control their smart

 devices. (Id. at ¶ 50.) The primary control mechanism is usually an app, such as the Philips Hue

 Bridge app, designed by the manufacturer and installed on mobile devices such as smartphones by

 the device users. (Id.) To use the app, the users must purchase a smart home hub provided by the

 manufacturer, like the Philips Hue Bridge, and pair it with a smart home device, like the Philips

 Hue Lightbulb, in the user’s home. (Id.; see also Shamilov Decl. Ex. 5 (Philips page titled “Hue


                                                  10
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 14 of 33 PageID #: 27607




 Bridge app – Control smart lights”).) The user must connect the hub to the Internet so the hub can

 communicate with the manufacturer’s cloud, like the Philips cloud, to enable control of the con-

 nected smart devices. (Johnson Reb. R. at ¶ 50)

        Some smart home device makers offer voice-control interfaces to their infrastructures via

 popular cloud-based voice service platforms, such as Amazon Alexa, Apple HomeKit, Microsoft

 Cortana, and Google Assistant, to allow their customers to control their smart devices using spoken

 commands. (Id. at ¶ 51.) One can think of these voice service platforms as providing voice inter-

 faces to the services provided by the smart home device manufacturers so that those manufacturers

 do not need to build their own voice processing systems, which are highly complex and sophisti-

 cated AI systems. Before Alexa can be used as a voice interface to control smart home devices in

 the home, both the manufacturers and the users must set up their respective systems. (Id. at ¶¶ 89–

 98.)

        As part of that set up, a smart home device manufacturer, like Philips, must register with

 Amazon and build software called a “skill” (using application program interfaces, or “APIs,” pro-

 vided by Amazon), which allows Alexa to communicate with the manufacture’s cloud or other

 back-end infrastructure. (Id. at ¶¶ 52–53.) This skill, hosted in the Amazon Web Services (AWS)

 cloud, is invoked by Alexa when it determines that the user is attempting to control the manufac-

 turer’s device. (Id. at ¶ 55.) The skill must be designed to receive the processed user request from

 Alexa, communicate with the manufacturer’s cloud, and return a response to Alexa once the man-

 ufacturer’s cloud processes the request in a manner designed by that manufacturer. (Id.) For

 example, when an Alexa-enabled device, like an Echo, records a user’s voice command “Alexa,

 turn the kitchen light to 50 percent,” it sends the audio recording of the command to the Alexa

 Voice Service to process and understand. (Id.) Once Alexa processes the command and deter-

 mines that it is directed to a third-party smart home device, it sends the processed command to that


                                                 11
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 15 of 33 PageID #: 27608




 third-party’s skill, which communicates with the third-party’s cloud using communication chan-

 nels that the third party defined to set the brightness on the end user’s kitchen light. (Id.) The

 third-party cloud, in turn, using the third-party’s implementation, is responsible for identifying the

 appropriate smart home device and performing the operation the user requested. (Id.) Once that

 is done, the skill responds to Alexa with a message, called an event, to indicate whether the oper-

 ation was successful. (Id.) This event is then used to provide an appropriate verbal response to

 the user by Alexa, such as an “OK” to indicate that the requested action was successfully executed.

 (Id.)

         Before any of this can take place, however, the user must set up a smart home system in

 his or her home. (McAlexander Op. R., General Tabs at Tab VV at 2 (detailing user-required setup

 of Amazon account, Alexa App, user WiFi, Philips Hue App, Philips Hue Bridge, Alexa Smart

 Home Skill, and Hue Skill); Johnson Reb. R. at ¶¶ 89–98.) First, the user must obtain the smart

 home devices, such as Philips Hue Lightbulbs. (Id.) The user must then set up the third-party

 devices, including configuring a WiFi network in the user’s home and connecting these devices to

 that network. (Id.) The user must also register the devices and authorize them to work with the

 accused Alexa-enabled devices. (Id.)

         For example, to set up an Echo device as the voice interface to control a Philips Hue Light-

 bulb, an end user must first obtain a Philips Hue Lightbulb and Philips Hue Bridge and set up these

 devices as instructed by Philips. (See Shamilov Decl. Ex. 6 (Philips Hue setup guide); Johnson

 Reb. R. at ¶¶ 89–98; McAlexander Op. R., General Tabs at Tab VV at 2.) Step one of the set up

 requires connecting the Philips Hue Lightbulb to the Philips cloud. (Id.) To do this, the Philips

 Hue Lightbulb user must create a Hue account in the Hue app and link the account to the Philips

 Hue Bridge. (See Shamilov Decl. Ex. 7 (Philips page titled “How to create a Hue account and link

 to your Hue Bridge?”); see also Johnson Reb. R. at ¶¶ 89–98; McAlexander Op. R., General Tabs


                                                  12
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 16 of 33 PageID #: 27609




 at Tab VV at 2.)

           Next, the Echo device owner must authorize and enable the Philips Hue Skill developed

 by Philips to allow its customers to control their smart home Philips Devices via Alexa. (See

 Shamilov Decl. Ex. 8 (Amazon page titled “Connect Smart Home Devices to Alexa”); Johnson

 Reb. R. at ¶¶ 89–98; McAlexander Op. R., General Tabs at Tab VV at 2.) As part of this enabling

 step, the Echo device owner must log into his or her Philips Hue account and link the owner’s

 Philips account with the owner’s Alexa account. (Id.) Once the accounts are linked, the Echo

 device owner must add the smart lightbulb to the Alexa account by asking Alexa to “discover” the

 Philips Hue smart lightbulb, by saying “Discover my devices,” or by selecting “Add Device” in

 the Devices section of the Alexa app. (Id.)

 VI.       AMAZON DOES NOT AND CANNOT DIRECTLY INFRINGE ANY CLAIM OF
           THE ’983 PATENT FAMILY AS A MATTER OF LAW.

           The Court should grant Amazon summary of non-infringement of the ’983 patent family

 because IS’s infringement theory requires functionality provided by third parties, and Amazon

 neither puts the claimed systems into service nor combines all elements of the claimed systems, as

 required to show infringement of system claims under the Federal Circuit’s opinion in Centillion.2

 631 F.3d at 1284. Indeed, the accused Amazon products as sold do not even meet the limitations

 of the asserted claims without further post-sale configuration and thus cannot infringe as a matter

 of law on this basis as well. See Typhoon Touch Techs., Inc. v. Dell, Inc., 659 F.3d 1376, 1380–

 82 (Fed. Cir. 2011) (holding that to infringe, a device “as provided must be ‘capable’ of performing

 the recited function, not that it might later be modified to perform that function”); Nazomi

 Commc’ns, Inc. v. Nokia Corp., 739 F.3d 1339, 1345–46 (Fed. Cir. 2014) (rejecting argument that


       2
       Like its direct infringement theories, IS’s indirect infringement theories for the ’983 patent
 family also fail. These theories are addressed in Amazon’s contemporaneously filed summary
 judgment motion of no indirect infringement.


                                                 13
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 17 of 33 PageID #: 27610




 “the accused devices infringe if they ‘ha[ve] the capability of being configured or programmed to

 perform the stated function,’ even though the accused devices were not structured to perform that

 stated function as sold”).

        A.      Amazon cannot directly infringe as a matter of law under the Federal Cir-
                cuit’s opinion in Centillion.

        Taking every infringement opinion of IS’s technical expert Mr. McAlexander as true, no

 genuine issue of material fact precludes summary judgment of non-infringement. IS does not map

 all the elements of the asserted claims of the ’983 patent family to a single Amazon product. In-

 stead, it maps the claims to a system that end users put together and relies on multiple non-Amazon

 components to establish infringement. Indeed, IS does not map the critical claim requirement—a

 short range wireless communication regarding the updated status of a household item—to any

 component or functionality provided by Amazon itself. (Shamilov Decl. Ex. 9 (chart showing

 third-party reliance by Mr. McAlexander).) Instead, it points to unaccused third-party products,

 operations, and networks to show purported infringement. (Id.) IS’s infringement theory fails as

 a matter of binding Federal Circuit law.

        The Federal Circuit’s opinion in Centillion governs the infringement analysis where, as

 here, the patentee asserts infringement of system claims—the only claims at issue in this case—by

 an accused system consisting of multiple components provided by different entities. Centillion,

 631 F.3d at 1283-84; see also Grecia v. McDonald’s Corp., 724 F. App’x 942, 946 (Fed. Cir.

 2018) (Centillion applies when “different parties possess[] different claim elements, and no single

 party possesse[s] each and every claim element.”). In Centillion, the Federal Circuit addressed the

 meaning of “using” or “making” a system that includes elements in the possession of more than

 one actor. 631 F.3d at 1283-84, 1287-88. The Federal Circuit held that under § 271(a) to “make”

 a system for purposes of infringement, a party “would need to combine all of the claim elements.”



                                                 14
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 18 of 33 PageID #: 27611




 Id. at 1288. And to “‘use’ a system for purposes of infringement, a party must put the invention

 into service, i.e., control the system as a whole and obtain benefit from it.” Id. at 1284. This

 “requires a party to use each and every element of a claimed system.” Id. (alteration omitted).

 Amazon neither makes nor uses the accused system. 3

            1.      Amazon does not “make” the claimed systems.

        It is undisputed that Amazon does not make any of the Phillips (or other third-party) prod-

 ucts that IS maps to the critical elements of the asserted claims. IS’s expert, Mr. McAlexander,

 maps the requirement of a short range wireless communication regarding an updated status of a

 household item to communications between the Philips Hue Lightbulb and Philips Hue Bridge:
            In the configuration case of the Philips Hue Lightbulb, the Philips Hue
            Lightbulb and Philips Hue Bridge communicate with each other over a
            ZigBee network. As such, both the command from the Philips Hue Bridge
            to the lightbulb and the message from the lightbulb to the Philips Hue
            Bridge are sent through a ZigBee short range wireless communication chan-
            nel. When the bulb status changes, information about the change is com-
            municated from the lightbulb to the bridge via ZigBee and then from the
            bridge to the Wi-Fi network to the
                                                                      .

 (McAlexander Op. R., Att. A-a10.)

        Amazon does not make the Phillips Hue Lightbulb or Phillips Hue Bridge. (Johnson Reb.

 R. at ¶ 98.) Amazon does not provide the ZigBee communication—the alleged “short range wire-

 less communication”—between the Philips Hue Bridge and the Philips Hue Lightbulb. (Johnson

 Reb. R. at ¶¶ 92–93.) Nor does Amazon make the WiFi networks that its end users use in their


    3
       IS vaguely asserts that Amazon “controls operation of the [accused] system . . . by certifying
 the [third-party] devices [for compatibility with Alexa] prior to sale” (McAlexander Op. R. at
 ¶ 71), apparently applying the “direction and control” standard for joint infringement under Aka-
 mai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc) (per
 curiam). The Akamai standard applies to method claims where “more than one actor is involved
 in practicing the steps” of a claim. Id. Because that standard does not apply to claims for infringe-
 ment of system claims, and IS asserts only system claims rather than method claims, IS and Mr.
 McAlexander’s arguments regarding certification, even if true, are irrelevant.


                                                  15
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 19 of 33 PageID #: 27612




 homes. (Id. at ¶ 93.) It is the end users, not Amazon, who set up and authorize interactions be-

 tween the mapped Philips products, their WiFi networks, and Amazon, all in their own sole dis-

 cretion. (Id. at ¶¶ 92–98.)

        Indeed, what IS accuses in this case is no different than the Qwest systems accused in

 Centillion. There, Centillion accused several Qwest billing systems of patent infringement. Cen-

 tillion, 631 F.3d at 1281–82. The accused products included two parts: “Qwest’s back office

 systems and front-end client applications that a user may install on a personal computer.” Id. at

 1281. The Federal Circuit found that because “[t]he customer, not Qwest, completes the system

 by providing the ‘personal computer data processing means’ and installing the client software,”

 Qwest did not “make” the system under § 271(a.). Id. at 1288.

        The same is true here. It is the end user who must provide the Phillips products (or any

 other third-party products) and WiFi network required under IS’s infringement theory. (Johnson

 Reb. R. at ¶¶ 89–98; see also McAlexander Op. R., General Tab (VV) at 2 (chronicling user-

 required setup of Amazon account, Alexa App, user WiFi, Philips Hue App, Philips Hue Bridge,

 Alexa Smart Home Skill, and Hue skill).) It is the end user who must connect their Phillips device

 to the Philips cloud (or the cloud of another third-party). (Id.) It is the end user who must log into

 their Philips Hue account to link their Philips account with their Amazon Alexa account. (Id.) It

 is the end user who must use the Alexa app to enable the Philips Hue Skills. (Id.) And it is the

 end user that must ask Alexa to discover the Philips Hue Lightbulb (or any other third-party de-

 vice) either by saying “Discover my devices” or selecting “Add Device” in the Devices section of

 the Alexa app. (Id.; Shamilov Decl. Ex. 8 (Amazon page titled “Connect Smart Home Devices to

 Alexa”); see also Johnson Reb. R. at ¶ 74.)

        And Amazon is not vicariously liable for any of these actions for the same reasons that

 Qwest was not vicariously liable for its customers’ actions. In Centillion, the Federal Circuit held


                                                  16
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 20 of 33 PageID #: 27613




 that Qwest cannot be “vicariously liable for the actions of its customers” because the customers

 did “not act as Qwest’s agents as a matter of law nor [were] they contractually obligated by Qwest

 to act.” 631 F.3d at 1288. The Federal Circuit found that even though Qwest provided the accused

 software and technical assistance to its customers, it was “entirely the decision of the customer

 whether to install and operate this software on its personal computer data processing means.” Id.

 at 1287. Similarly, it is entirely the decision of Amazon’s customers whether to purchase the

 Phillips products, whether to install them, whether to set up and connect them to their home WiFi

 networks, and whether to use them at all. (Johnson Reb. R. at ¶¶ 89–98.) As in Centillion, Ama-

 zon’s customers do not act as Amazon’s agents as a matter of law and are not contractually obli-

 gated by Amazon to act in an allegedly infringing manner.

        Indeed, IS’s infringement theories are even more attenuated from the claims than the in-

 fringement theories that were at issue in Centillion. In Centillion, the accused infringer provided

 both the front-end software (that the customers installed in their sole discretion) and the back-end

 system; and the Federal Circuit found that not to be enough to directly infringe the claims. 631

 F.3d at 1281, 1284. The front-end in IS’s infringement theory is not any software provided by

 Amazon, but third-party devices that customers purchase, setup, register, and use in their sole dis-

 cretion. Amazon does not make the claimed systems of IS’s patents.

            2.      Amazon does not “use” the claimed systems.

        Amazon also does not use the claimed systems of IS’s patents. To use the claimed systems,

 Amazon “must put the claimed invention into service, i.e., control the system and obtain benefit

 from it” and “us[e] all portions of the claimed invention.” Id. at 1284, 1286.

        It is the end users, not Amazon, who put the accused systems as a whole into operation; it

 is the end users, not Amazon, who control the claimed systems; and it is the end users, not Amazon,

 who benefit from the accused systems. Therefore, it is the end users who use all portions of the


                                                 17
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 21 of 33 PageID #: 27614




 claimed systems, not Amazon. See Rotec Indus., Inc. v. Mitsubishi Corp., 215 F.3d 1246, 1252

 n.2 (Fed. Cir. 2000) (“[O]ne may not be held liable under § 271(a) for ‘making’ or ‘selling’ less

 than a complete invention.”).

                a)     Amazon does not control the claimed systems.

        Every asserted claim of the ’983 patent family requires the communication of information

 regarding the updated status of a household item. (’983 patent claims 22, 24, 39, 62, 64, 67, 80,

 105, 108; ’918 patent claims 28, 112, 113; ’798 patent claims 5, 6, 52; see also Johnson Reb. R. at

 ¶ 89.) And all asserted claims but claim 62 of the ’983 patent and its dependents require this

 communication to be in conjunction with “a short range wireless communication” regarding an

 updated status of the household item. (’983 patent claims 22, 24, 39, 105, 108; ’918 patent claims

 28, 112, 113; ’798 patent claims 5, 6, 52; see also Johnson Reb. R. at ¶ 89.)

        According to IS, the accused Amazon products themselves do not communicate a short

 range wireless communication regarding the updated status of a household item. (McAlexander

 Op. R., Atts. A, A-a, A-b, B, B-a, B-b, B-c, B-d, C, C-a, C-b. C-c; see also Shamilov Decl. Ex. 9

 (chart showing third-party reliance by Mr. McAlexander).) Instead, IS relies on third-party prod-

 ucts, such as the Philips Hue Lightbulb and Philips Hue Bridge, for those required communica-

 tions. (McAlexander Op. R., Atts. A, A-a, A-b, B, B-a, B-b, B-c, B-d, C, C-a, C-b. C-c; see also

 Johnson Reb. R. at ¶ 89.) Indeed, for all claims except claim 62 of the ’983 patent and its depend-

 ents, IS alleges that the claimed “short range wireless communication” is a ZigBee communication

 between the Philips Hue Lightbulb and the Philips Hue Bridge. (See, e.g., McAlexander Op. R. at

 Att. A-a10 (“[B]oth the command from the Philips Hue Bridge to the lightbulb and the message




                                                 18
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 22 of 33 PageID #: 27615




 from the lightbulb to the Philips Hue Bridge are sent through a ZigBee short range wireless com-

 munication channel.”); see also Shamilov Decl. Ex. 9; Johnson Reb. R. at ¶ 92.) 4 And for claim

 62 and its dependents, which do not recite short range wireless communications but still require

 communication of “information for managing an item status . . . based on a signal regarding an

 updated status of the item,” IS alleges that the “item” is one of many third-party “smart home

 devices” such as “cameras, cooking appliances, entertainment devices, lights, locks, sensors, and

 thermostats.” (McAlexander Op. R. at Att. B-a22.)

        It is the end user who decides to purchase the third-party smart home devices, such as the

 Phillips Hue lightbulb and Philips Hue Bridge, and who configures them to communicate with

 each other through the end users’s own WiFi network. Amazon does not even know, let alone use,

 the protocol the Philips Hue Lightbulb (or another smart home device) uses to communicate with

 the Philips Hue Bridge (or another smart home hub purchased by the end user). (Johnson Reb. R.

 ¶ 92.) Amazon does not direct its customers, or Philips for that matter, to use any particular com-

 munication between a Philips Hue Lightbulb and Philips Hue Bridge, or between any other smart

 home hub and device. (Id.) IS has no evidence that it makes any difference to Amazon whether

 the communication between the Philips Hue Lightbulb and Philips Hue Bridge (or another smart

 home device and another smart home hub) is a “short range wireless communication,” or if it

 occurs as a long-range wireless communication, or a wired communication, or if it even occurs at

 all. (Id.) Amazon has no way to direct or instruct any of the third-party smart home devices on

 how to act, communicate, or operate. (Id. at ¶¶ 89–98.) Nor does it have any mechanism for doing

 so. (Id.) It is the end users, not Amazon, who select and configure the third-party devices for use

    4
       The vast majority of the accused Amazon devices do not even support ZigBee communica-
 tions and cannot receive any short range ZigBee communications mapped by IS. (Johnson Reb.
 R. at ¶¶ 62, 102 (noting that all accused Fire TVs only have WiFi capability, not ZigBee); id. at
 ¶¶ 65–67, 144 (same for all accused Fire Tablets); id. at ¶¶ 74, 207 (noting that all accused Echos
 except for the Echo Plus and Echo Show 2 only have WiFi capabilities, not ZigBee).)


                                                 19
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 23 of 33 PageID #: 27616




 in their homes.

        And although Amazon allows third parties to create “skills” that enable third-party devices

 to be controlled via Alexa, under Centillion, merely offering a software interface for third parties

 to interface with is insufficient to show infringement by Amazon. 631 F.3d at 1286. Indeed, in

 Centillion, the Federal Circuit held that “[s]upplying the software for the customer to use is not

 the same as using the system.” Id. Here, Amazon does not even provide its customers with any

 software to install on their Alexa-enabled devices to interact with the third-party smart home de-

 vices. (Johnson Reb. R. at ¶¶ 50–55; 89–98.) Amazon merely provides an interface for third

 parties to build their own software in their own discretion. (Id.) And it is those third parties who

 control how that software operates in response to customers’ request to control a system the cus-

 tomers set up in their own homes, which Amazon does not use, does not provide, and does not

 control. (Id.; see Intellectual Ventures I LLC v. Motorola Mobility LLC, 870 F.3d 1320, 1329 (Fed.

 Cir. 2017) (explaining that a single party “must control (even if indirectly) and benefit from each

 claimed component” to “use” a system).)

        IS’s expert, Mr. McAlexander, opines that this reliance on third-party products makes no

 difference to the strength of IS’s case. But seemingly worried that the Court may disagree, he

 espoused a new theory during his deposition: an end user saying “Alexa, turn on Light 1” meets

 the claimed communication of information about an updated status of the household item in con-

 junction with a short range wireless communication regarding the updated status. (McAlexander

 Depo. at 53:6–14; see also 45:8–50:2; 115:17–116:1.)

        This new argument effectively reads out the requirement that communicating “information

 about an updated status of a household item” must be “in conjunction with a short range wireless

 communication regarding the updated status,” as required by the claims. (See, e.g., ’918 patent,

 claim 27, from which asserted claim 28 depends.) Under this new theory, Mr. McAlexander still


                                                 20
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 24 of 33 PageID #: 27617




 maps the “updated status” to the light turning on. (McAlexander Depo. at. at 57:8–11.) But as

 Mr. McAlexander himself concedes, when the user says “Alexa, turn on Light 1,” the light has not

 yet turned on, i.e. its status has not been updated. (Id. at 54:23–55:16; see also id. at 120:3–14.)

 Thus, it’s impossible for a user telling Alexa to “turn on Light 1” to communicate “information

 about an updated status” because the updated status (i.e., the light turning on) has not happened.

 (Id. at 52:3–9 (“Q. So there is no updated status, and your testimony is that nonetheless, infor-

 mation about an updated status can be communicated in conjunction with a short range wireless

 communication regarding the updated status. Is that your testimony? A. In this particular instance

 and arrangement, yes.”); see also id. at 116:23–117:9.) Indeed, when pressed, Mr. McAlexander

 failed to articulate how the accused Amazon devices become aware of the required “short range

 wireless communication regarding the updated status,” much less how these devices communicate

 information “in conjunction with” that communication. (Id. at 50:17–58:23.)

        This is because, as discussed, Amazon does not know or care about the protocol third par-

 ties use to control their devices. (Johnson Reb. R. at ¶¶ 89–98.) The communication that Mr.

 McAlexander now points to, “Alexa, turn on light 1,” is communicated when and if a user speaks

 those words. (Id. at ¶¶ 30–31.) It is not triggered by, or in conjunction with, a change in status of

 an item. (Id.) As such, it cannot be triggered by a short range wireless communication between

 third-party devices regarding such a change in status. (Id.) Mr. McAlexander’s half-baked theory

 does not save IS’s claims. More importantly, it does not eliminate his reliance on third-party

 devices to prove infringement, which is fatal to IS’s claims under Centillion.

                b)      Amazon does not benefit from the accused systems.

        Amazon also does not benefit from each and every element of the system the customers set

 up in their homes using third-party smart home devices. Intellectual Ventures I, 870 F.3d at 1329

 (“[P]roof of an infringing ‘use’ of the claimed system under § 271(a) requires the patentee to


                                                  21
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 25 of 33 PageID #: 27618




 demonstrate that the direct infringer obtained ‘benefit’ from each and every element of the claimed

 system.”). IS has no evidence that Amazon derives any tangible benefit “tethered to the claims”

 because the communication between the Philips Hue Lightbulb (or another smart home device)

 and Philips Hue Bridge (or another smart home hub) is a “short range wireless communication,”

 or a long-range wireless communication, or a wired communication, or any communication at all.

 Grecia, 724 F. App’x at 947 (“The alleged benefit should be tangible, not speculative, and tethered

 to the claims.”). It is the user, not Amazon, who benefits from being able to control a lightbulb.

 Indeed, IS’s expert, Mr. McAlexander, has no analysis in his report of any purported “element-by-

 element benefits” that Amazon derives from its customers’ set up and use of smart home systems

 in their homes. Acceleration Bay LLC v. Activision Blizzard, Inc., 324 F. Supp. 3d 470, 482–83

 (D. Del. 2018).

        Amazon does not “use” the claimed systems as a matter of law and does not and cannot

 directly infringe the asserted claims under 35 U.S.C. § 271(a).

        B.      Amazon cannot directly infringe as a matter of law under the Federal Cir-
                cuit’s opinions in Typhoon Touch and Nazomi.

        To meet the limitations of the ’983 patent family, the accused systems must be configured

 to perform a plethora of functions. For example, claim 9 of the ’918 patent requires “[a] wireless

 signal apparatus comprising”; “an input interface configured to receive a multimedia signal

 through a wireless communication network”; a “processing unit configured to perform a conver-

 sion of the multimedia signal”; “a high definition digital output interface configured to transmit

 the encoded signal to the destination device”; and a “wireless signal conversion apparatus . . . con-

 figured to transmit the encoded signal to the destination device.” (’918 patent, cl. 9.) Similarly,

 claim 27 of the ’918 patent, from which asserted claim 28 depends, requires that the “wireless

 signal conversion apparatus is configured to: communicate, through the wireless communication



                                                  22
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 26 of 33 PageID #: 27619




 network, information about an updated status of a household item in conjunction with a short range

 wireless communication regarding the updated status.” (’918 patent, cl. 27.)

        It is undisputed that, as sold by Amazon in the box shipped to the customer, the accused

 Amazon products are not configured to and do not perform these functions—for example, receiv-

 ing a multimedia signal over a wireless communication network or communicating information

 regarding status of a household item—and will never perform these functions unless and until they

 are combined with and configured to operate with third-party devices such as a local WiFi network

 and Philips Hue Bulbs and Bridges and the like. (McAlexander Op. R., General Tabs at Tab VV

 at 2; Johnson Reb. R. at ¶¶ 89–98.) The bulk of the accused products—Fire TV and Fire Tablet

 devices—will never even be used to control smart home devices in the manner accused by IS as

 they are primarily used as media streaming devices. (See, e.g., Johnson Reb. R. at ¶¶ 56, 66 (dis-

 cussing primary functionality of Fire TV and Fire Tablet devices).)

        To save its infringement theories, IS, through its expert Mr. McAlexander, argues that the

 devices as sold by Amazon in their original boxes infringe the asserted claims of the ’983 patent

 family because they are capable of being configured, at some point in the future by some end users,

 to operate with third-party devices to perform the claimed functions. (See, e.g., McAlexander

 Depo. at 33:9–34:4 (testifying that Fire TV products are “configured to communicate” information

 regarding status of a household item “in a use condition where it is part of a wireless communica-

 tion network and there is an item such as . . . in a communication with the ZigBee network on a

 Philips light bulb, with the Philips Hue”), 50:11-24 (admitting that the Fire TV as sold by Amazon

 “does not either send or receive a short range wireless communication regarding the updated sta-

 tus,” but arguing that “it’s not required by the claim”); 85:10-87:2 (Fire Tablet cannot transmit a

 signal to a high definition display when shipped in the box, but is “configured” to do so when

 connected to a separate display via a separate HDMI cable).) Indeed, Mr. McAlexander identifies


                                                 23
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 27 of 33 PageID #: 27620




 as purportedly infringing “Configuration Cases for Alexa”—post-sale combinations of the accused

 Amazon devices with third-party smart home devices and software. (McAlexander Infringement

 Report at General Tab VV at 2-6.) The Federal Circuit has repeatedly rejected such infringement

 theories.

        In Typhoon Touch, the patents-in-suit were directed to “keyboardless” touch screens for

 portable computing devices. 659 F.3d at 1379. The representative claim recited a “portable, key-

 boardless, computer” comprising, among other things, (1) “a memory for storing at least one data

 collection application”; (2) “a processor . . . for executing said data collection application”; and

 (3) “a run-time utility operating in conjunction with said processor to execute said application.”

 Id. at 1379–80. The district court granted summary judgment in favor of the defendant because

 the accused products did not perform the claimed functions. Id. On appeal, the patentee argued

 that the claims required only that “the device has the capability of being programmed or configured

 to execute” the claimed functions—the very argument IS and its expert make here. See id. at

 1380–81 (emphasis added). The Federal Circuit rejected the patentee’s arguments that the district

 court “incorrectly included a ‘use’ limitation in an apparatus claim” and that “it suffices if the

 computer-implemented structures can be configured to operate in conjunction with each other,

 whether or not they have been so configured in the device charged with infringement.” Id. The

 Federal Circuit found that to infringe, “the apparatus as provided must be ‘capable’ of performing

 the recited function, not that it might later be modified to perform that function.” Id. at 1380 (citing

 Microprocessor Enhancement Corp. v. Tex. Instruments Corp., Inc., 520 F.3d 1367 (Fed. Cir.

 2008)) (emphasis added).

        The Federal Circuit reaffirmed this rule in Nazomi Communications, Inc. v. Nokia Corp.

 739 F.3d at 1344–46. The Nazomi court affirmed a district court’s holding that the functions re-

 cited in the asserted claims were actual limitations and that, to infringe the claims, “the claimed


                                                   24
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 28 of 33 PageID #: 27621




 apparatus must itself be capable of performing the claimed functions.” Id. at 1343 (emphasis

 added). The court again rejected the very argument made by IS and its expert here: “that the

 accused devices infringe if they ‘ha[ve] the capability of being configured or programmed to per-

 form the stated function,’ even though the accused devices were not structured to perform that

 stated function as sold.” Id. at 1346 (quoting Typhoon Touch, 659 F.3d at 1380) (emphasis added);

 see also, e.g., Flexuspine, Inc. v. Globus Med., Inc., No. 6:15-CV-201-JRG-KNM, 2016 WL

 4161887, at *5–7 (E.D. Tex. Aug. 5, 2016) (establishing infringement of claim reciting medical

 device “configured to” perform functions “requires proving more than mere capability” because

 interpreting claim as requiring only capability of being used in infringing manner “would render

 these [configured to] limitations ‘devoid of meaning’”).

         So did another court in this district, applying the same and by now well-established Federal

 Circuit rule. Sipco, LLC v. Abb, Inc., No. 6:11-CV-0048 LED-JDL, 2012 WL 31122302 (E.D.

 Tex. July 30, 2012). The patents at issue in Sipco were “generally directed towards [systems for]

 monitoring or controlling remote devices using wireless mesh communications technology.” Id.

 at *1. Like the claims of the ’983 patent family, the representative claim in Sipco recited a system

 consisting of generic computing and networking components “configured to” achieve various

 functions: “[a] system for remote data collection, assembly, and storage comprising . . . a com-

 puter configured to execute at least one computer program that formats and stores select infor-

 mation for retrieval upon demand from a remotely located device”; “at least one wireless transmit-

 ted configured to transmit select information and transmitter identification information”; “a plu-

 rality of . . . transceivers . . . configured to receive select information transmitted from at least one

 nearby wireless transmitter and further configured to transmit the select information,” and a “gate-

 way . . . configured to farther transmit the translated information to the computer.” Id. at *5 (em-

 phasis removed). Just like IS and its expert here, Sipco argued that “‘configured to’ ‘simply means


                                                    25
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 29 of 33 PageID #: 27622




 the device is programmed or equipped with hardware or software to be capable of performing the

 function.’” Id. at *10. Sipco argued that the claimed “wireless transceivers need not actually be

 programmed or equipped with hardware to perform the functions recited above, they need only be

 ‘capable’ of performing these functions.” Id. at *11. The court rejected Sipco’s argument, noting

 that “[i]nterpreting ‘configured to’ as requiring only mere capability would eliminate any mean-

 ingful limits to the claims” and would render the “configured to” limitations “virtually devoid of

 meaning.” Id. (emphasis added). The identical argument advanced by IS and its expert fail for

 the same reason.

        The accused Amazon devices as sold cannot by themselves perform the limitations of the

 asserted claims. Mr. McAlexander’s “Configuration Cases for Alexa” themselves illustrate that

 the accused devices must be configured and connected to a system with third-party devices and

 networks in order to meet all elements of the asserted claims. Indeed, until the accused devices

 are connected to an end user’s home network and coupled with the end user’s smart home devices

 provided by third parties such as Phillips, there is no “updated status” or a “household item” to

 manage as the asserted claims require. IS cannot establish direct infringement of the ’983 patent

 family claims by the accused devices as sold as a matter of law for this reason as well. Typhoon

 Touch, 659 F.3d at 1380; Nazomi, 739 F.3d at 1344–46.

        Notably, the accused Amazon devices provide a way to send voice commands to Alexa.

 What is possible with those voice commands is limitless and depends on the devices that third

 parties may design and build (from essential oil diffusers to pet feeders to twerking bears to smart

 toilets 5). IS’s argument that an accused Amazon device is configured to perform all those limitless

    5
       (Shamilov Decl. Ex. 10 (ASAKUKI Smart Wi-Fi Essential Oil Diffuser, App Control Com-
 patible with Alexa); id. Ex. 11 (Petnet SmartFeeder, Automatic Pet Feeder for Cats and Dogs,
 Compatible with Alexa); id. Ex. 12 (Gemmy Twerking Christmas Bear Bluetooth Plush – Com-
 patible with Alexa); id. Ex. 13 (Alexa is everywhere: Kohler’s smart toilet brings voice assistant
 into bathrooms).)


                                                 26
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 30 of 33 PageID #: 27623




 functionalities at the time it is sold—before its owner even buys any of those third-party devices

 let alone pairs them with the accused Amazon device or registers them—defies logic and has al-

 ready been rejected by the Federal Circuit and courts in this district.

 VII.   CONCLUSION

        For the reasons stated, Amazon respectfully requests that the Court grant its motion for

 summary judgment of no direct infringement of all claims of the ’983 patent family.




                                                  27
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 31 of 33 PageID #: 27624



  February 25, 2020                    Respectfully submitted,


                                       By: /s/ J. David Hadden
                                          J. David Hadden
                                          CA Bar No. 176148 (Admitted E.D. Tex.)
                                          Email: dhadden@fenwick.com
                                          Saina S. Shamilov
                                          CA Bar No. 215636 (Admitted E.D. Tex.)
                                          Email: sshamilov@fenwick.com
                                          Ravi R. Ranganath
                                          CA Bar No. 272981 (Admitted E.D. Tex.)
                                          Email: rranganath@fenwick.com
                                          FENWICK & WEST LLP
                                          Silicon Valley Center
                                          801 California Street
                                          Mountain View, CA 94041
                                          Telephone: (650) 988-8500
                                          Facsimile: (650) 938-5200

                                            Todd R. Gregorian
                                            CA Bar No. 236096 (Admitted E.D. Tex.)
                                            Email: tgregorian@fenwick.com
                                            Dargaye Churnet
                                            CA Bar No. 303659 (Admitted E.D. Tex.)
                                            Email: dchurnet@fenwick.com
                                            TJ Fox
                                            CA Bar No. 322938 (Admitted E.D. Tex.)
                                            Email: tfox@fenwick.com
                                            FENWICK & WEST LLP
                                            555 California Street, 12th Floor
                                            San Francisco, CA 94104
                                            Telephone: 415.875.2300
                                            Facsimile: 415.281.1350

                                            Jeffrey Ware
                                            CA Bar No. 271603 (Admitted E.D. Tex.)
                                            Email: jware@fenwick.com
                                            FENWICK & WEST LLP
                                            1191 Second Avenue, 10th Floor
                                            Seattle, WA 98101
                                            Telephone: 206.389.4510
                                            Facsimile: 206.389.4511




                                       28
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 32 of 33 PageID #: 27625




                                            Melissa R. Smith
                                            State Bar No. 24001351
                                            GILLAM & SMITH, LLP
                                            303 South Washington Avenue
                                            Marshall, Texas 75670
                                            Telephone: (903) 934-8450
                                            Facsimile: (903) 934-9257
                                            Email: melissa@gillamsmithlaw.com

                                            Counsel for Defendants
                                            AMAZON.COM, INC.,
                                            AMAZON DIGITAL SERVICES LLC,
                                            AND AMAZON WEB SERVICES, INC.




                                       29
Case 4:18-cv-00474-ALM Document 457 Filed 02/27/20 Page 33 of 33 PageID #: 27626



                                CERTIFICATE OF SERVICE


        I hereby certify that on February 25, 2020, a true and correct copy of the foregoing docu-

 ment was served on each party through their counsel of record via email.
       Donald Lee Jackson
       Email: djackson@davidsonberquist.com
       Alan Arthur Wright
       Email: awright@davidsonberquist.com
       Gregory Albert Krauss
       Email: gkrauss@davidsonberquist.com
       James Daniel Berquist
       Email: jay.berquist@davidsonberquist.com
       Davidson Berquist Jackson & Gowdey LLP
       8300 Greensboro Drive Suite 500
       McLean, VA 22102

        Counsel for Plaintiff
        Innovation Sciences, LLC



                                             /s/ Ravi R. Ranganath
                                             Ravi R. Ranganath




                                                30
